               Case 6:19-bk-00976-KSJ        Doc 28     Filed 11/06/19     Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
In re:

Petr Vach                                              Case No. 6:19-bk-00976-KSJ
dba VP Fossils d/b/a CNG Interceptor and               Chapter 7
Heather Dawn Vach,
       Debtor(s).
                                             /

                            RESPONSE TO TRUSTEE’S
               MOTION TO SELL PROPERTY FREE AND CLEAR OF LIENS

         COMES NOW, Quicken Loans Inc., (“Creditor”), a secured creditor in connection with

real property located at 910 Hawk Landing, Fruitland Park, FL 34731 and files this Response

to Trustee’s Motion to Sell Property Free and Clear of Liens (the “Motion”) and in support

thereof, states the following:

    1. Creditor holds a first mortgage encumbering a real property located at 910 Hawk

         Landing, Fruitland Park, FL 34731 (the “Property”) and more particularly described

         as:




    2. On May 20, 2019 an Agreed Order Granting Motion for Relief from Stay by Quicken

         Loans Inc. was entered granting relief effective ninety (90) days from the date of entry.

    3. On October 22, 2019, the Trustee filed a Motion to Sell Property Free and Clear of Liens

         (ECF No. 27).

    4. Creditor does not object to the Sale of the property so long as the sale is subject to

         approval by the Creditor and Creditor is paid in full.



                                                                                   QPWB# 130459
           Case 6:19-bk-00976-KSJ         Doc 28    Filed 11/06/19     Page 2 of 3




              WHEREFORE, the undersigned respectfully requests that the Motion to Sell

      Real Property be granted subject to the Creditor’s approval of said short sale and Creditor

      is paid in full.




                                           Respectfully submitted,

Dated: November 6, 2019                     /s/ Leslie Rushing
                                           Leslie Rushing, Esq.
                                           Florida Bar No. 98106
                                           Quintairos, Prieto, Wood & Boyer, P.A.
                                           1475 Centrepark Blvd., Suite 130
                                           West Palm Beach, FL 33401
                                           Telephone: (561) 686-1880 x 1311
                                           Fax: (561) 686-1886
                                           Primary Email:
                                           leslie.rushing@qpwblaw.com
                                           Secondary Email:
                                           flsdbknotices@qpwblaw.com




                                                                                QPWB# 130459
            Case 6:19-bk-00976-KSJ       Doc 28    Filed 11/06/19    Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that I have caused to be served a copy of the foregoing by first class mail,
postage prepaid or by CM/ECF electronic filing upon the parties listed below on this day.

Dated: November 6, 2019                           /s/ Leslie Rushing
                                                  Leslie Rushing, Esq.
                                                  Florida Bar No. 98106

Copies Furnished To:

By CM/ECF Receipt:

Andrea B Anderson, Esq.
Bogin, Munns, Munns, P.A.
Post Office Box 2807
Orlando, FL 32802-2807
Email: aanderson@boginmunns.com

Trustee
Lori Patton
Law Office of Lori Patton, PA
PO Box 520547
Longwood, FL 32752

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

By First Class Mail:

Petr Vach
Heather Dawn Vach
910 Hawk Landing
Fruitland Park, FL 34731




                                                                             QPWB# 130459
